           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 1 of 57




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

  STATE OF MINNESOTA, by its Attorney
  General Keith Ellison,
                                                         CASE NO. ________________
           Plaintiff,

           v.                                            COMPLAINT FOR
                                                         DECLARATORY AND
  EVAN AZURE, in his official capacity as                INJUNCTIVE RELIEF
  CEO of Island Mountain Development Group,
  and

  GENO LEVALDO, in his official capacity as
  Chairman of Island Mountain Development
  Group.

           Defendants.

      The State of Minnesota by and through its Attorney General Keith Ellison (“the

State” or “the Attorney General”) alleges the following:

      1.        This is a civil law enforcement action brought by the Attorney General to

stop predatory lending in Minnesota by online businesses controlled by Defendants. These

lenders—doing business as Bright Lending, Target Cash Now, Green Trust Cash, operating

under the Island Mountain Development Group and controlled by Defendants

(“Defendants” or “the Defendant lenders”)—have made thousands of online installment

loans to consumers in Minnesota bearing interest rates between 474% and 795%. These

loans are illegal under Minnesota usury laws.

      2.        Defendants purport to shield themselves from responsibility for this illegality

by citing the sovereign status of their owner, a federally recognized Indian tribe. They

represent to consumers in Minnesota that the out-of-state status of the tribal owner and
            CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 2 of 57




operation of tribal law allows them to market and demand payment on usurious loans, avoid

compliance with Minnesota law, and leave consumers with no redress or ability to assert

legal rights in court. But the truth is that out-of-state businesses incorporated under the

laws of other sovereigns must comply with Minnesota law when transacting with

consumers in Minnesota. Simply put, those that do business in Minnesota cannot evade

Minnesota laws by operating online or including contract provisions purporting to waive

operation of Minnesota statutes. Defendants’ loans are illegal and their representations

about consumers’ obligations and rights are misleading, abusive, and unfair.

       3.       Defendants also claim that, even if their businesses are illegal, their tribal

owner’s sovereign status prevents them from being subject to legal process. But several

rulings addressing this form of abusive online lending in recent years have confirmed

otherwise: sovereign entities are subject to judicial injunctive authority even if they cannot

be sued for monetary remedies. In accordance with that caselaw, this civil enforcement

action fully accepts and respects the sovereign status of the Defendant lenders’ tribal owner

and seeks only prospective relief. The Attorney General seeks only to enforce federal and

state laws, including usury prohibited by Minnesota’s civil and criminal code, and to stop

further violations and harm to financially distressed Minnesota consumers.

       4.       This Court is well-situated to adjudicate this matter. In addition to state-law

claims, the Attorney General brings claims under federal laws guarding against illegal and

deceptive lending. Specifically, the Consumer Financial Protection Act (CFPA) prohibits

misleading, abusive, and unfair practices and the Racketeer Influenced and Corrupt


                                               2
            CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 3 of 57




Organizations Act (RICO) bans excessive usury. Moreover, to the extent this action is

brought by one sovereign to safeguard its interests against legal violations by the business

arm of another sovereign, federal courts have a “strong interest in providing a neutral forum

for the peaceful resolution of disputes between domestic sovereigns.” Gingras v. Think

Fin., Inc., 922 F.3d 112, 124 (2d Cir. 2019).

                                         PARTIES

       5.       Keith Ellison is the Attorney General of Minnesota and brings this action on

behalf of the State of Minnesota and its residents to enforce Minnesota and federal laws,

vindicate sovereign and quasi-sovereign interests, and remediate harm arising out of

violations of those laws. He is authorized to do so by the Minnesota Constitution, parens

patriae powers, Minn. Stat. ch. 8, and 12 U.S.C. § 5552.

       6.       Evan Azure is Defendant in his official capacity as Chief Executive Officer

(CEO) of the Fort Belknap Planning and Development Corporation dba Island Mountain

Development Group (“IMDG”), which is described in paragraph 8 below. Mr. Azure

resides in Billings, Montana. As CEO, he is responsible for deciding policies and

establishing goals, strategies, plans, and policies for the IMDG and the corporations it

manages. Mr. Azure has been CEO of the IMDG and managed the corporations identified

herein since April 2023. His predecessors are Jarrett Azure and Terry Brockie.

       7.       Defendant Geno LeValdo is Defendant in his official capacity as chairman

of the IMDG board of directors. As chairman, he oversees and supervises Mr. Azure and

decides policies for IMDG and the corporations it manages. The IMDG’s board authorizes


                                                3
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 4 of 57




all business conducted by the IMDG and the corporations identified herein. Mr LeValdo

resides or works in Hays, Montana. He has held the position of chairman since at least

January 2023. LeValdo’s predecessor as chairman was Tracy Charles King.

      8.       The IMDG is a for-profit corporation headquartered at 375 Lower White

Cow Road in Hays, Montana. It is the sole manager of limited liability corporations that

engage in the business of lending in Minnesota, including Aaniiih Nakoda Finance LLC

dba Bright Lending (“Bright Lending”), Green Trust Cash LLC dba Green Trust Lending

(“Green Trust Cash”), and Target Finance LLC dba Target Cash Now (“Target Cash

Now”). According to Mr. Azure, the IMDG “performs or oversees and maintains control

over the performance of all of [Bright Lending’s] core business functions.”

      9.       Bright Lending, Green Trust Cash, and Target Cash Now are LLCs formed

under the laws of and wholly owned by the Fort Belknap Indian Community (FBIC). The

sole member of Bright Lending is GVA Holdings, LLC, which is under the control of the

FBIC. The FBIC also has owned, operated, and/or managed other online businesses under

the following trade names: Island Finance LLC dba White Hills Cash, Clear Water

Lending, LLC dba Cash Fairy, West River Finance LLC dba West River Cash, Blue Thread

Lending LLC, North Star Finance, LLC dba Northcash, Northern Plains Funding LLC dba

Northern Plains Funding, and Riverbend Finance LLC dba Riverbend Cash.

      10.      The IMDG, the FBIC, and the IMDG’s officers and directors operate Bright

Lending, Target Cash Now, and Green Trust Cash with a shared purpose to engage in

business in Minnesota (and select other states), maintains a continuous structure of


                                            4
         CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 5 of 57




management and personnel to operate the business, and have an institutional structure that

is distinct from that inherent in the unlawful conduct that is the subject of this lawsuit. The

IMDG, Bright Lending, Target Cash Now, and Green Trust Cash also contract with non-

tribal debt collectors to engage in collection and payment demands from consumers.

       11.    Messrs. Azure and LeValdo are named as Defendants in this matter in their

official capacities responsible for managing the IMDG and its LLCs Bright Lending, Green

Trust Cash, and Target Cash Now. They are in control of policy and make decisions for

the IMDG, Bright Lending, Green Trust Cash, and Target Cash Now. They have final

authority regarding such matters as CEO and chairman of the IMDG, respectively

                             JURISDICTION AND VENUE

       12.    The Court has federal-question jurisdiction under 28 U.S.C. §§ 1331 and

1337 because a claim is brought under federal law: the CFPA pursuant to 12 U.S.C §§

5564(f) and 5552(a)(1) and RICO pursuant to 18 U.S.C. §§ 1962 and 1964.

       13.    The Court has supplemental jurisdiction over claims brought under state law

pursuant to 28 U.S.C. § 1367. The conduct underlying the state and federal law claims form

the same case or controversy because the underlying conduct is substantially the same.

       14.    Defendants transact or do business in this District and/or are found in this

District and are thus subject to personal jurisdiction herein pursuant to 18 U.S.C. § 1965(b)

and (d) and 12 U.S.C §§ 5552(a)(1) and 5564(f), in addition to Minnesota’s long-arm

statute, Minn. Stat. § 543.19.




                                              5
         CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 6 of 57




       15.    This Court may also enter a declaratory judgment pursuant to the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 through 2202.

       16.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claim occurred in and because Defendants

do business in this District.

                                GENERAL ALLEGATIONS

       17.    Since territorial times and after statehood, the Minnesota Legislature has

prohibited usury, making loans charging excessive interest void and providing liability for

any person who makes or collects on such loans. While this general prohibition has always

remained, the Legislature in more recent years enacted specialized usury limits and

restrictions for persons and entities engaged “in the business of making loans” and provided

for loan contracts that violate that law as void. It has also instituted special restrictions to

guard against predatory “payday” and other small and short-term loans and prohibited

attempts to evade the law through deceptive contractual provisions. These laws are

described in section I below.

       18.    Defendants ignore these laws and have in recent years made thousands of

loans to consumers in Minnesota at interest rates exponentially higher than what is

permitted. They do so while deceiving Minnesotans to believe the Defendant lenders are

immune from Minnesota law because they are owned by a federally recognized Indian

tribe. But even sovereign entities and their subsidiaries must comply with Minnesota and

federal law when they transact business in Minnesota. Defendants thus falsely represent


                                               6
          CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 7 of 57




that their loans are legal, not subject to Minnesota law, and require consumers to repay

illegal principal and interest. As detailed below, Minnesota continues to be harmed by

Defendants’ practices and respectfully requests injunctive relief to prevent further harm

and uphold Minnesota’s laws.

     I.       MINNESOTA’S USURY LAWS

       19.    Usury laws limit interest and other finance charges that lenders can exact on

borrowers and are one of the most longstanding and basic forms of consumer protection in

American law. Such laws are historically and deeply rooted in the policy and moral

judgment of legislators that exploiting those with limited means through predatory money

lending is both unjust and harmful to individual borrowers and society at large.

       20.    Accordingly, the Minnesota Legislature since territorial times has

maintained usury laws that prevent individuals and businesses from charging predatory

interest. Such laws have long protected Minnesotans facing financial distress from being

exploited or misled into taking out harmful credit products during times of need.

       21.    A general usury limit has been long codified in chapter 334 of the Minnesota

Statutes and caps annual interest at 8% for written contracts. Chapter 334 and Minnesota

and federal banking laws, however, allow certain financial institutions to charge higher

select rates subject to federal or state supervision and restrictions.

       22.    Loans subject to chapter 334’s general interest rate cap but that nonetheless

charge rates exceeding 8% are void and have no legal effect by operation of section 334.03

and 334.05. The Minnesota Supreme Court has also long held that usurious contracts are


                                               7
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 8 of 57




void as to the lender, who cannot collect principal or interest or assert other rights under

illegal loan contracts.

       23.     The Minnesota Legislature has also enacted special restrictions on so-called

“payday” and similar forms of small-dollar, short-term credit. Such loans target consumers

facing immediate financial need and pose higher risks for exploitative practices and

default—risks that have only increased as the market has increasingly moved online.

       24.     Specifically, Minnesota’s “consumer small loan” statute (section 47.60) was

enacted in 1995 and applies to individuals or entities that make unsecured consumer loans

up to $350 and scheduled to be repaid in a single installment. The law requires such lenders

both to be licensed or registered and to follow limits on interest or fees permitted under the

statute. Minnesota’s “short term loan” statute (section 47.601) was added in 2009 and has

applied to individuals and entities that made consumer loans up to $1,000 and required

payments within 60 days of more than 25% of the balance. The statute has prohibited

certain contract terms that prevent consumers from asserting rights under Minnesota law

and requires disclosures of fees, interest, and other information. Consumer-short-term

lenders must file additional reports to the Department of Commerce. A consumer small

loan or consumer short-term loan not in compliance with interest-rate limitations and

licensing requirements is void.1




       1
        The 2023 Minnesota Legislature amended these statutes to eliminate certain fees
for consumer small loans and short-term loans. The amended statute allows applicable
       (Footnote Continued on Next Page)

                                              8
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 9 of 57




       25.     Subdivision 5 of the consumer-short-term-loan law (section 47.601) provides

that a loan “is deemed to take place in the State of Minnesota if the borrower is a Minnesota

resident and the borrower completes the transaction, either personally or electronically,

while physically located in the state of Minnesota.” This coincides with general Minnesota

caselaw holding that businesses that market and extend loans to consumers in Minnesota

via the internet are subject to Minnesota laws.

       26.     In addition to the consumer-short-term-loan law and consumer-small-loan

law, Minnesota generally requires that businesses engaged “in the business of making

loans” up to $100,000 and above the general usury cap of 8% hold a license from the

Department of Commerce and abide by interest-rate caps of either 21.75% annual

percentage rate2 on the entire loan or 33% a year for the first $1,350 and 19% for the

remainder. Any loan contract in violation of these requirements is void and the debtor is

not obligated to pay any amounts owing. Carrying on a predatory lending business in

violation of chapter 56 is also a gross misdemeanor under section 56.10.

       27.     Minnesota has strong interests in these consumer protections. According to

the American Community Survey, nearly 9% of Minnesotans in 2021 were living below



loans to charge up to 50% interest if they make an assessment that the consumer has the
ability to repay or 36% interest if they do not. It also raised the threshold for consumer
short-term loans from $1,000 to $1,300. 2023 MINN. LAWS ch. 57, art. 3.
       2
         “Annual percentage rate” or “APR” is the yearly cost of borrowing calculated as
a percentage of a loan’s original principal. The rate includes interest charged on
outstanding balances, origination fees, and other finance charges in the annualized
calculation; thus, it is a more accurate reflection of the costs of borrowing than simply
referring to a loan’s annual “interest” rate, though the terms are often used interchangeably.
                                              9
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 10 of 57




the poverty line, with nearly one third of Minnesotans that identify as American

Indian/Alaska Native (31%) or Black/African American in poverty.3 Minnesotans

increasingly report difficulty paying for basic needs, including increasing costs for food,

gas, and housing.4 Usury laws provide basic protection from lenders that seek to exploit

Minnesotans needing to pay for such basic needs. Loans with exorbitant interest frequently

result in borrowers stuck in cycles of costly borrowing and “debt traps” that worsen their

financial condition.5

       28.     Minnesota law has also traditionally recognized the important public policy

served by usury limits. Lending above the general usury rate without being subject to

licensing restrictions is subject to criminal penalties under chapter 56. The Minnesota

Supreme Court has also held that a lender charging rates exceeding 500% on “wage earners

who are forced by necessitous circumstances … to borrow small sums of money”

constitutes a public nuisance.




       3
        Angela R. Fertig, Minnesota Poverty Report 2022, MINN. COMMUNITY ACTION
P’SHIP & HUMPHREY SCHOOL OF PUBLIC AFFAIRS (Mar. 7, 2022); People in Poverty in
Minnesota, Minn. Dep’t of Health, https://data.web.health.state.mn.us/poverty_basic; John
Creamer et al, Poverty in the United States: 2021, UNITED STATES CENSUS Bureau (Sep.
2021).
       4
        Ben Horowitz & Alene Tchourumoff, Higher Prices & Job Struggles: The
Challenges Many Ninth District Households Face, FEDERAL RESERVE BANK OF
MINNEAPOLIS (Feb. 8, 2023).
       5
      Market Snapshot: Consumer Use of State Payday Loan Extended Payment Plans,
CONSUMER FINANCIAL PROTECTION BUREAU (2022).
                                            10
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 11 of 57




       29.     Accordingly, after the Minnesota Legislature’s enactment of the short-term

loan statute (section 47.601), the Attorney General brought numerous enforcement actions

against illegal online small-dollar lenders that were violating Minnesota’s laws.6

       30.     In addition to voiding usurious loans and providing criminal penalties for

unlawful usurious lending, the Minnesota Legislature has needed to expend public funds

to pay for programs to make interest- and fee-free loans that refinance and “resolv[e]




       6
          State by Swanson v. Global Payday Loan, LLC, No. 27-CV-10-6381 (Minn. 4th
Dist. July 20, 2010) (default judgment ordered online lender and pay $100,000 and to cease
lending or collecting on loans to Minnesota residents until it complied with Minnesota
law); State by Swanson v. Jelly Roll Financial, LLC, No. 19HA-CV-10-1703 (Minn. 1st
Dist. Oct. 7, 2010) (consent judgment required online lender to pay $15,000 and cease
lending to Minnesota residents until it complied with Minnesota law); State by Swanson v.
Eastside Lenders, LLC, No. 19HA-cv-10-1075 (Minn. 1st Dist. Nov. 17, 2010) (consent
judgment required online lender to pay $50,000 and cease lending to Minnesota residents
until it complied with Minnesota law); State by Swanson v. Silverleaf Mgmt., No. 33-cv-
11-305 (Minn. 10th Dist. Mar. 28, 2012) (consent judgment required online online lender
to pay $46,000 and cease lending to and collecting on any outstanding loans from
Minnesota residents until it complied with Minnesota law); State by Swanson v. Upfront
Payday, LLC, No. 33-cv-11-306 (Minn. 10th Dist. Apr. 2, 2012) (consent Judgment
required online lender to pay $21,500 and cease lending to and collecting from Minnesota
residents until it complied with Minnesota law); State by Swanson v. Flobridge Group,
LLC, No. 62-cv-11-7171 (Minn. 5th Dist. June 11, 2012) (consent judgment required
online lender to pay $34,000 and cease lending to Minnesota residents until it complied
with Minnesota law); State by Swanson v. Sure Advance, LLC, No. 27-CV-11-18350
(Minn. 5th Dist. Nov. 16, 2012) (consent decree required online lender to pay $760,000
and cease lending to and collecting from Minnesota residents until it complied with
Minnesota law); State by Swanson v. Integrity Advance, LLC, No. 62-cv-11-7168 (Minn.
5th Dist. May 31, 2014) (findings of fact and conclusions of law ordering payment of
$7,705,308 and enjoining online lender from lending to and collecting from Minnesota
residents until it complied with Minnesota law); State by Swanson v. CashCall, Inc., No.
27-cv-13-12740 (Minn. 4th Dist. Aug. 17, 2016); (consent judgment required online lender
to pay $4,500,000 and cease lending to and collecting from Minnesota residents until it
complied with Minnesota law).
                                            11
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 12 of 57




consumer short-term loans carrying interest rates greater than 36 percent,” including

$150,000 in annual grants beginning in 2023, $200,000 in one-time funds in 2023, and

$100,000 in one-time funds appropriated in 2018. See 2018 Minn. Laws ch. 94, art. 1, § 7;

2023 Minn. Laws ch. 57, art. I, § 2. These appropriations from Minnesota’s public fisc are

necessary to relieve Minnesota consumers from predatory and inescapable debt.

    II.         DEFENDANTS VIOLATE MINNESOTA’S USURY LAWS

          31.   Messrs. Azure and LeValdo manage businesses through the IMDG as part of

a scheme in which individuals and corporate entities falsely market and extend loans at

exorbitant interest rates in violation of the above usury laws. These illegal business

activities are directed at and harm financially distressed Minnesotans, undermine

Minnesota’s laws and lending businesses that comply with those laws, and impose other

direct costs on Minnesota.

          32.   Mr. Azure currently acts as CEO of the IMDG, which oversees and maintains

control of corporations that market and extend short-term installment loans to Minnesota

consumers at annual interest rates between 400 and 800%, or 50 to 100 times that allowed

under chapter 334. Mr. Azure’s predecessor is Terry Brockie, who was CEO of the IMDG

from May 2016 through January 2023. Mr. Azure took over as CEO in April 2023.

          33.   In his role as CEO, Mr. Azure is a controlling participant in a scheme with

various corporations and individuals to make misrepresentations to Minnesotans, issue

usurious loans that violate Minnesota’s criminal laws, and extract unlawful payments from

financially distressed Minnesota consumers.


                                             12
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 13 of 57




      34.    Mr. LeValdo also exercises control over the IMDG and its corporations as

chairman of the IMDG’s board of directors. Mr. LeValdo’s predecessor as chairman of the

IMDB is Tracy Charles King. In his role as chairman, Mr. LeValdo is a controlling

participant in a scheme with various corporations and individuals to make

misrepresentations to Minnesotans, issue usurious loans that violate Minnesota’s criminal

laws, and extract unlawful payments from financially distressed Minnesota consumers.

Bright Lending

      35.    Since at least 2017, the IMDG has operated Bright Lending as an online

lending business that markets and offers loans to Minnesota consumers at balances between

$350 and $1,500, charging 400% to 700% interest.

      36.    In 2020, the BBB issued a consumer alert stating that it “recognized a pattern

of complaints regarding the lending services provided by Bright Lending” based on

consumers “borrow[ing] but after making several payments, [only to later] discover they

owe much more money than they borrowed.”

      37.    The Washington State Department of Financial Institutions (“Washington

DFI”) announced in 2018 that Bright Lending also was operating in that state and was “not

licensed” and “not registered to conduct business in Washington State.” The Washington

DFI stated that a loan “made by an unlicensed entity to a person physically located in

Washington State is uncollectible and unenforceable in Washington State.”




                                           13
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 14 of 57




      38.    Defendants, doing business through Bright Lending, send hard-copy

marketing materials to Minnesota consumers. For example, Defendants sent mailings to a

Minnesota consumer in Saint Paul in February and March 2023:




      39.    According to the Bright Lending website, consumers in Minnesota can visit

the website to view the business’s marketing, fill out an online application that includes

identification of their Minnesota address and other personal information, and review and

e-sign loan contracts online from their home in Minnesota. After receiving Defendants’

approval, those Minnesota consumers receive an email confirmation from Bright Lending

                                           14
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 15 of 57




and receive funds deposited into their bank account from Bright Lending. The funds are

deposited “typically … as early as one business day.”

       40.    Defendants have not offered Bright Lending loans to residents of all states.

In particular, Defendants do not market or make Bright Lending loans to consumers in

Arkansas, Connecticut, Massachusetts, Montana, New York, Pennsylvania, Puerto Rico,

Vermont, Virginia, West Virginia, and other American jurisdictions. Defendants, however,

have chosen to do business and make Bright Lending loans in Minnesota.

       41.    Bright Lending frequently collects payments from Minnesotans by

withdrawing funds from their bank accounts. They also send emails (or have debt collectors

send emails) demanding payments from Minnesotans on Bright Lending loans. Under the

Bright Lending contract with one such debt collector, Defendants transmitted account

information and borrowers’ Minnesota address to the debt collector and directed the

collector to collect on Minnesota borrowers’ debts, which may include recommending

collection suits and settling accounts with borrowers.

       42.    Many Minnesota consumers have reported to the Attorney General, the BBB,

and other authorities that Bright Lending-branded loans with egregiously high interest rates

and taken out while they were located in Minnesota. For example:

              a. DB of Minneapolis reported that he took out an online loan from Bright
                 Lending on September 1, 2020 for $800. He did not understand that he
                 took out the loan and incurred the debt until after the loan was deemed
                 executed by Bright Lending. Bright Lending charged DB 400% interest
                 and informed him that it would take 22 payments of $200 each from his
                 bank account, for a total of $4,400. DB already faced extreme levels of
                 medical debt, and he feared the interest on the Bright Lending loan would
                 drive him into bankruptcy.

                                            15
CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 16 of 57




    b. JB of Sauk Rapids reported that she took out a loan from Bright Lending
       for $500 in 2020 but was charged extremely high interest and had to pay
       back $2,244 on the loan. She did not know about this usurious interest
       rate before taking out the loan. When she learned about the high interest
       rate, she unsuccessfully attempted to cancel the loan.

    c. SB of Saint Paul reported that she took out a $500 loan from Bright
       Lending, made one payment, then was told that she owed another $700.
       When she was unable to access her account or understand how those
       charges accrued, she reported the issue to the BBB.

    d. AC of Saint Paul reported that she took out a $350 loan from Bright
       Lending in 2019 but did not know the usurious interest payment schedule.
       She ended having ten payments of $89.99 automatically debited from her
       bank account before being told that she owed another 21 payments, at an
       interest rate of 650%. She was outraged when she learned about this
       interest rate and says that she never would have taken out the loan if she
       knew the rate.

    e. NG of Circle Pines reported that she took out a $500 loan from Bright
       Lending in February 2020 and was told that she would need to make $136
       payments every two weeks. After several months of payments totaling
       $900, she was told she still owed an additional $300. This surprised her,
       given that she had repaid nearly double the original balance in just a few
       months, so she tried to refer to her account and loan documents, but they
       were not made available to her by Bright Lending.

    f. DH of Minneapolis reported that she was charged $1,374 in interest on a
       $650 loan she took out from Bright Lending in 2020.

    g. EL of Saint Paul reported that she took out a $500 loan from Bright
       Lending in 2019 and, after paying back over $800, was told that she still
       owed more. She faced financial distress when she reported the loan and
       could not afford additional payments.

    h. ML of Fridley is 71 years old and reported taking out a loan from Bright
       Lending in 2021 while attempting to purchase furniture in North Branch,
       misunderstanding Bright Lending to be affiliated with the furniture seller.
       She was signed up for a $750 loan before learning it was not affiliated
       with the seller, but when she attempted to cancel the loan she was told it
       was too late. Bright Lending charged ML nearly 700% on the loan, and
       she could not afford the payments.


                                  16
CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 17 of 57




    i. RL of Oakdale is 66 years old and reported that she took out a $700 loan
       from Bright Lending in 2019. At the time, she was retired and struggled
       to pay her regular living expenses. She visited Bright Lending’s website
       and filled out an application, assuming the loan was legal. She was also
       led to believe she could avoid interest by paying off the loan early. After
       approval, Bright Lending deposited the funds into her bank account. She
       then learned that the loan carried over a 423% interest rate. After making
       payments totaling $423.52, she still owed over $909. She called Bright
       Lending from Minnesota and was told that she could not avoid interest
       by paying off the loan early. After RL complained to the BBB, Bright
       Lending discharged the remaining balance, though by then she had paid
       more than twice the principal. She found the experience “incredibly
       stressful.” Bright Lending continues to send letters to her Minnesota
       home marketing additional loans.

    j. AM of Eagan reported that she took out a $1,000 loan from Bright
       Lending in 2022, but later learned that the interest rate was higher than
       allowed under Minnesota law. She repaid over $1,124.10 over several
       months and could not afford additional payments.

    k. SR of Minneapolis reported that he took out a $600 loan from Bright
       Lending that, after just a few months, increased its balance to $846
       because of a 600% interest rate.

    l. TR of Carver reported that he took out a $1,250 loan from Bright Lending
       in 2022, then subsequently learned the loan was subject to a 499.99%
       interest rate. The payments deepened TR’s financial hardship.

    m. CT of Aitkin reported that she took out a $500 loan from Bright Lending
       in 2020. After paying back the $500 principal balance, however, she
       learned she still owed another $250 due to the loan’s extremely high
       interest rate.

    n. SY of Spring Lake Park reported that she had taken out a $550 loan from
       Bright Lending at 700% interest. She made payments for several months
       but could not pay down the balance.

    o. TR of Woodbury reported that she took out a $500 loan from Bright
       Lending in 2018 and then learned it carried a 700% interest rate. She
       struggled to repay this loan.

    p. CK of Faribault reported in 2021 facing circumstances in his life that had
       left him “desperate” and “scared.” At this time, Bright Lending extended

                                  17
CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 18 of 57




       him a $1,000 loan at 700% interest. He reports that this loan has left him
       far worse off because he is “drowning in th[e] interest rate.”

    q. AB of New Prague reported in 2022 that she took out a Bright Lending
       loan for $450. The Covid-19 pandemic caused her additional financial
       setbacks, and she could not repay the high-cost loan. Bright Lending
       charged 675% interest and continued to demand payment. AB eventually
       turned to a debt settlement company to pay $708.28 for the loan. She was
       told by Bright Lending that “the loan agreement signed by [AB] is legally
       binding, and we have every right to expect payment as scheduled in the
       agreement.”

    r. MD of Cokato reported that he took out a loan for $850 in 2023 from
       Bright Lending. He then learned that Bright Lending was charging him
       700% interest on the loan, saying that he “did not realize what I agreed to
       until after I received the payment plan.” He states, “I don’t understand
       how this is legal,” and he was confused whether the company legally
       operates in Minnesota. He tried to transfer the high-interest loan to a
       lower-interest credit card, but Bright Lending refused to take a credit card
       payment and he became delinquent on the loan.

    s. AG of Elko New Market reported in April 2023 that she took out a loan
       from Bright Lending but, when she tried to repay the loan, was told that
       her payment would not be accepted. As a result, she incurred a finance
       charge of $35 for each day the loan was not paid. She believes Bright
       Lending “is very crooked and should not be allowed” to continue making
       loans in Minnesota.

    t. CR of Minneapolis, who is over 60, reported that in April 2023 that she
       needed money to pay bills. Bright Lending offered her a “pre-approved
       loan for $1,200” and asked her to provide loan application information
       online. She immediately qualified for a $600 loan with $30/month
       payments. She then was emailed the loan agreement and printed it out,
       only to discover that her payments were $300 per month (not $30 per
       month) with a 700% interest rate. She never would have agreed to the
       loan at this amount. She believes she was “scammed” and “a victim of
       predatory lending from Bright Lending.”

    u. MP of Fort Ripley reported in 2023 that a Bright Lending loan was falsely
       taken out in her name, which caused Bright Lending to take payments
       from her bank account every week even though she did not authorize the
       loan. She learned that Bright Lending was charging 700% interest on the
       loan. When she complained, Bright Lending communicated to her that

                                   18
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 19 of 57




                 she is past due and that it is exempt from Minnesota law. She reported
                 feeling that she had no options for escaping Bright Lending’s predatory
                 debt.

              v. HF of Anoka reported in 2022 that she received a Bright Lending loan
                 for $1,000 and, after making four $207.68 payments, she still somehow
                 owed $1,220.15. She also stated that Bright Lending took money from
                 her bank account even though she never authorized it. She feels that the
                 company is “draining my pocket.”

              w. TR of Chaska reported in 2022 that they lost their job in August 2022 and
                 needed assistance with loan forgiveness. They stated that Bright Lending
                 was charging them 499.99% interest to finance a $1,250 loan, which
                 made the total payment amount $6,023.18. Payments were due every two
                 weeks.

              x. NG of Anoka reported in 2020 that she took out a Bright Lending loan of
                 $500. Nine months later, Bright Lending was still charging her $136
                 every other week and stated that she still owed it over $300. NG also
                 stated that Bright Lending told her it was charging her $5 per day in
                 interest. She reported that when she tried to look up her loan documents,
                 they were unavailable. She believes that “this company is scamming
                 people and needs to be stopped.”

       43.    The payment structure for these Bright Lending loans requires that a

minimum of 25% or more of the original principal balance be repaid within 60 days of the

loan’s origination.

       44.    The Bright Lending loans all include provisions in the loan agreement telling

consumers that Minnesota laws do not apply to the loan agreement:




       45.    Bright Lending loans include provisions in the agreements telling Minnesota

consumers that they are “limited in the claims, if any you may be able to assert” against

the lender and that the consumer must proceed under resolution procedures through the

                                            19
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 20 of 57




company’s complaint portal and any “decision of the Tribal Council” as to the complaint

“shall be final.” The loan agreement states in boldfaced, capital letters that the consumer

has no right to sue for violating state or federal laws:




       46.    Bright Lending loans also include provisions that provide for “late payment

fee[s]” of 10% of the payment amount, which it can assess if the consumer does not make

payment “within 5 business days” after it is due.

       47.    When the Attorney General contacted IMDG regarding consumer

complaints, Mr. Azure’s predecessor (Mr. Brockie) would respond to the Attorney General

and the consumer that “Minnesota law does not apply to Bright Lending.” The CEO would

further state that Bright Lending has “every right to expect payment as scheduled in the

[loan] agreement.” Since becoming CEO and chairman, respectively, neither Mr. Azure

nor Mr. LeValdo has corrected these statements. Rather, the IMDG continues to respond

to complaints on behalf of Bright Lending and express in communications that Bright

Lending loans are legal, enforceable, and not subject to Minnesota law.

       48.    The overall and continuing impact of illegal Bright Lending loans on

Minnesota is significant. Just one debt collector that contracted with Bright Lending

reported being referred 634 Bright Lending loans for Minnesota consumers that were in

default between 2018 to 2022. At the direction of the Defendant lenders, the debt collector

contacted Minnesota consumers and falsely told them that these Bright Lending loans were


                                              20
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 21 of 57




legal and enforceable, causing the consumers to pay nearly $325,000 on the loans after

default.

Target Cash Now

       49.     Since 2015, Defendants have also conducted business as Target Cash Now.

Defendants market and offer Target Cash Now loans to Minnesota consumers at between

$500 to $1,000 and charge interest between 602% and 795% interest.

       50.     According to the Target Cash Now website, the business offers “rapid

funding” of loans and will “deliver” funds to Minnesota consumers within “the business

day after your application has been processed and approved.” It states that Minnesota

consumers can access the company’s website, fill out an online application that identifies

their Minnesota address and other personal information, receive a call from Target Cash

Now from Minnesota to verify the information, and, once their application is reviewed and

approved, can e-sign loan documents from Minnesota. Target Cash Now also emails

consumers in Minnesota that filled out loan applications demanding payments.

       51.     Target Cash Now’s website, however, states that it does not conduct business

in all states. Defendants do not extend Target Cash Now loans to residents of Arkansas,

Connecticut, the District of Columbia, Montana, North Carolina, New Jersey, New York,

Pennsylvania, Virginia, and West Virginia. They elect, however, to do business and make

Target Cash Now loans in Minnesota.

       52.     In 2020, the BBB issued an alert stating that it “recognized a pattern of

complaints from consumers regarding the lending services provided by Target Cash Now”


                                            21
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 22 of 57




based on consumers “borrowing money from the business and having to pay back much

more than they borrowed due to the interest rates attached to the loan.”

       53.    The 2018 announcement by the Washington DFI referenced above also

stated that Target Cash Now was operating and “not licensed” and “not registered to

conduct business in Washington State.” It stated that a loan “made by an unlicensed entity,”

like Target Cash Now, “to a person physically located in Washington State is uncollectible

and unenforceable in Washington State.”

       54.    Minnesota consumers have reported problems to the Attorney General, the

BBB, and other authorities about Target Cash Now loans they took out while in Minnesota:

              a. CW of Minneapolis reported that he took out a $400 loan from Target
                 Cash Now in 2017. After he took out the loan, he learned that it carried a
                 700% interest rate. He ended up making payments totaling $700 before
                 having to make a final payoff of $546.33.

              b. CG of Shakopee reported in 2021 that she took out a $300 loan from
                 Target Cash Now. She paid back more than $400 but reported that the
                 interest accrued and she continued to owe money on the loan even after
                 those payments.

              c. HI of Minneapolis reported in 2021 that he took out a $1,200 loan from
                 Target Cash Now that carried a 500% interest rate. He reported that he
                 would have to pay $3,800 in interest over 10 months on the loan, with
                 each monthly payment at $508. After paying over $2,000, Target Cash
                 Now’s continuing demand for repayment caused him great financial
                 hardship.

              d. JJ of Saint Paul reported in 2021 that he took out a $600 loan from Target
                 Cash Now when he needed money during the Covid-19 pandemic. When
                 he contacted the company a month later to inquire about paying off the
                 loan in full, he was told he needed to pay $995 or face a ten-month
                 repayment plan in which he would repay a total of $1,900.

              e. VM of Saint Paul reported in 2021 that she took out a loan from Target
                 Cash Now and repaid $700, which she thought accounted for the total

                                            22
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 23 of 57




                 balance. However, she was told after paying this amount that she still
                 owed $120 and that interest continued to accrue while she dealt with
                 “financial restrictions” during the Covid-19 pandemic. Eventually, she
                 began to receive calls from a debt collector and filed a complaint. Target
                 Cash Now replied to her complaint that “the loan agreement signed by
                 [VM] is legally binding…and we have every right to expect payment as
                 scheduled in the agreement.”

             f. CN of Maple Lake reported in 2016 that she needed money for to cover
                living expenses and took out a $700 loan from Target Cash Now. The
                high interest and repeated payment demands from Target Cash Now
                resulted in her repaying over $1,784 on the loan.

             g. SS of Bertha, who is 70 years old and receiving a fixed income, reported
                in 2020 that he took out a $1,200 loan from Target Cash Now to make
                necessary repairs to his home. He had trouble corresponding with the
                company by email and so instead spoke with the company over the phone.
                SS reports that he did not know that the interest and repayment amount
                got so high. He was eventually told he needed to repay nearly $2,000 to
                pay off the loan.

             h. TS of Brimson reported in 2020 that he took out a $375 loan from Target
                Cash Now but later learned of an extremely high interest rate that he did
                not believe was fair to charge or demand.

             i. RB of Saint Paul reported in 2014 that he took out a Target Cash Now
                loan for $800 but, after he took out the loan, learned that it carried a 900%
                interest rate. Facing dire financial distress, he filed for bankruptcy. Yet
                Target Cash Now’s representatives told him that he owed them regardless
                of his bankruptcy discharge and made repeated collection calls to his
                home in Minnesota every day. Only after he complained to the BBB did
                the company stop pursuing the debt.

      55.    The Target Cash Now loans require that a minimum of 25% or more of the

original principal balance be repaid within 60 days of the loan’s origination. For example,

one set of loan documents for a Target Cash Now loan with an original principal of $900

required biweekly payments of $197.33, which amounts to $789.32 or 88% of the original

principal due within 60 days after the loan was executed.


                                            23
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 24 of 57




      56.    Target Cash Now loans include provisions in the loan agreements telling

consumers that Minnesota laws do not apply to its loans:




      57.    Target Cash Now includes provisions in its loan agreements telling

Minnesota consumers that they must assert complaints through a complaint procedure

controlled by the lender’s owner, the FBIC. The consumer must agree to a “borrower

complaint resolution procedure” that prevents them from filing an action in court:




      58.    Target Cash Now includes late-payment fees over 5% of each payment

amount in its loans. For example, one set of Target Cash Now loan documents included

provisions that provide for $35 in “late payment fees” for any payments 5 days after they

are due. All scheduled payments were for $197.33, making the late fees 17.7% of each

payment amount.

      59.    When the Attorney General contacted the IMDG regarding complaints it

received from Minnesota consumers, Defendant Azure’s predecessor (Mr. Brockie) would

respond on behalf of Target Cash Now by stating that “Minnesota law does not apply to

Target Cash Now.” He further stated that loans made by Target Cash Now are “legally

binding” and that Target Cash Now has “every right to expect payment as scheduled in the

[loan] agreement.” Since taking over as CEO and chairman, respectively, neither Mr.


                                           24
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 25 of 57




Azure nor Mr. LeValdo has corrected these statements. The IMDG continues to express in

communications from the corporations identified herein that the loans of the IMDG and

related entities are legal, enforceable, and not subject to Minnesota law.

       60.    Target Cash Now and/or its contracted debt collectors contacted consumers

in Minnesota, sent emails to consumers in Minnesota, and directed other commercial acts

into Minnesota. What’s more, Target Cash Now’s contract with one debt collector provided

for Target Cash Now to place defaulted accounts with the collector (which identified

borrowers’ addresses in Minnesota). Target Cash Now directed the collector to “pursue

diligent collection efforts” on those Minnesota borrowers, including to “make every effort

to collect accounts prior to making recommendations to file suits on such accounts.”

       61.    In 2019, the Connecticut Commissioner of Banking ordered Target Cash

Now to cease lending activity in violation of Connecticut consumer-lending laws.

       62.    The overall impact of these illegal Target Cash Now loans on Minnesota is

significant. One debt collector that contracted with Target Cash Now reported being

referred 97 defaulted Target Cash Now loans taken out by Minnesota consumers between

2018 to 2022. At the direction of the Defendant lenders, these Minnesota consumers who

were referred for collection to the collector and were falsely told that these Target Cash

Now loans were legal and enforceable paid nearly $58,000 to the collector on the loans.

Green Trust Cash

       63.    Defendants have conducted business as Green Trust Cash since at least 2012.

Defendants marketed and offered Green Trust Cash loans to Minnesota consumers at


                                             25
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 26 of 57




between $300 and $800 and charged interest between 471% and 841% interest. Green Trust

Cash marketed its products as providing instant cash to individuals who need the money

and cannot obtain credit from other lenders.

      64.    Defendants, doing business as Green Trust Cash, completed loan transactions

with Minnesota consumers over the internet while the consumers were physically located

in Minnesota. In a typical transaction, the consumer would go to Green Trust Cash’s

website from Minnesota, fill out an application that identified their Minnesota address and

bank account information, get approved by Green Trust Cash for the loan, accept the offer

while in Minnesota, have funds deposited directly into their bank account by Green Trust

Cash, and then receive notices in Minnesota to repay the loan. Green Trust Cash would

often withdraw payments on the loan directly from the consumer’s bank account.

      65.    Defendants do not extend Green Trust Loans to all states. Defendants

selected Minnesota as a state in which it would conduct business and make Green Trust

Cash loans. Green Trust Cash does not lend to residents of Arkansas, Connecticut,

Massachusetts, Montana, New York, Pennsylvania, Puerto Rico, Vermont, Virginia, West

Virginia, American Samoa, and other American jurisdictions and groups of consumers.

      66.    Minnesota consumers have reported to the Better Business Bureau, the

Attorney General’s Office, and other authorities about Green Trust Cash loans that they

took out while in Minnesota:

             a. NB of Andover reported that she took out a $450 installment loan from
                Green Trust Cash in 2018 after receiving marketing from the company
                via email stating that she was approved for a loan. After she received the
                loan, she was surprised to learn that she owed 21 payments of $138.39,

                                               26
CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 27 of 57




       for a total of $2,455.72, and an interest rate of 700%. NB’s bank account
       was overdrawn and she faced severe financial distress because of the
       loan.

    b. DS of New Ulm reported that he took out an installment loan from Green
       Trust Cash in 2017 and later learned that it carried an interest rate of
       694%. When DS communicated that the loan should be cancelled because
       it was not legal, the company told her that they did not need to comply
       with Minnesota law.

    c. DCT of Golden Valley reported that he took out a $300 loan from Green
       Trust Cash in 2016 to cover rent. After making several payments totaling
       $716, he still owed $286. The loan carried an interest rate of 557%. When
       DC complained about these rates, Green Trust informed him that it did
       not need to comply with Minnesota law. Green Trust’s collections caused
       DC extreme financial distress.

    d. DH of Willmar reported that he took out a $550 installment loan from
       Green Trust Cash because he was struggling financially, needed to meet
       his living expenses, and felt “desperate.” When he took out the loan,
       Green Trust’s website said that Minnesota was one of the states it did
       business in and DH believed the loan was legal. Green Trust deposited
       the $550 into his bank account in Minnesota. After repaying $765, DH
       could not reduce the balance on the loan due to the “terribly high interest
       rates.” When the AGO contacted Green Trust Cash to assist, a
       representative told the AGO and DH that Minnesota law did not apply
       and that DH had to repay the loan.

    e. BJ of Moorhead reported that he took out a $350 loan from Green Trust
       Cash in 2016. After Green Trust Cash took out $130 and $112 payments
       from his bank account, BJ learned that only $10 of those payments went
       towards paying down the principal.

    f. JJ of Duluth reported that she took out a $350 loan from Green Trust Cash
       in 2016 that she later learned carried a 762% interest rate.

    g. DM of Olivia reported that he took out a $500 loan in 2019 from Green
       Trust Cash. After paying back $666.30 on the loan, however, he learned
       he still owed $522. He learned that he would need to pay $2,798 in total
       to pay off the loan based on the interest charged. When DM complained,
       Green Trust told him that they do not need to follow Minnesota law.

    h. CR of Minneapolis reported taking out a $300 loan from Green Trust
       Cash in 2016. After paying back $935, she asked to change bank accounts
                                  27
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 28 of 57




                 for automatic debits, but the company prevented her from changing the
                 account, resulting in substantial overdraft fees and distress.

              i. TR of Woodbury reported that she took out a $800 loan from Green Trust
                 Cash in 2018. After repaying $334, she learned that the principal balance
                 had not been paid down due to the extremely high interest rate, causing
                 her financial hardship.

              j. YS of Bloomington reported that she took out a $650 loan from Green
                 Trust Cash in 2018. After having payments withdrawn from her bank
                 account for some time, she checked her balance and learned she owed
                 $1,116. Eventually she was told that she would need to pay $3,910.62 to
                 pay off the loan, which she learned carried an interest rate of nearly 700%.

              k. TH of St. Charles reported in 2019 that she took out a $500 loan from
                 Green Trust Cash when faced with financial distress. When she could not
                 make payments, Green Trust Cash refused to give any extensions. She
                 had to stop making payments but reported concern that she would be
                 subjected to collection based on what she believed were illegal demands
                 for repayment.

              l. DC of New Ulm reported in 2017 that he took out a $300 loan from Green
                 Trust Cash and later found out it carried a 694% interest rate. When DC
                 contacted the company and expressed concerned about the loan’s legality,
                 Green Trust Cash emailed him to say the loan was legal and he had to
                 repay it.

              m. KA of Hill City reported in 2016 that he took out a small-dollar loan from
                 Green Trust Cash and was told after taking it out that they would charge
                 880% APR. He reports that Green Trust called him at all times of the day
                 in Minnesota.

       67.    The Green Trust Cash loans are for a maximum of $1,000 and require that a

minimum of 25% or more of the original principal balance be repaid within 60 days of the

loan’s origination.

       68.    Green Trust Cash loans include provisions in the loan agreement telling

consumers that Minnesota laws do not apply to the agreement:



                                             28
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 29 of 57




       69.    Green Trust Cash loans include provisions in the loan agreement telling

consumers that they are “limited as to what claims, if any, you may be able to assert”

against the lender. The consumer must agree to a “tribal dispute resolution procedure” that

prevents them from filing an action in court:




       70.    One set of Green Trust Cash loan documents included provisions that provide

for a “late charge” for payments “2 days or more late,” which could apply to payments

between $13 and $115 (or between 230% and 26% of the payment amount). Another set

of loan documents provided for a 10% late fee for any payment 5 days late.

       71.    Mr. Azure’s predecessor Mr. Brockie would respond as CEO to the Attorney

General’s inquiries regarding the above consumers on behalf of Green Trust Cash by

stating that “Minnesota law does not apply to Green Trust Cash, LLC.” The CEO of the

IMDG would further state that the loans made by Green Trust Cash are “legally binding”

and that the IMDG has “every right to expect payment as scheduled in the [loan]

agreement.” Since taking over as CEO and chairman, respectively, neither Mr. Azure nor

Mr. LeValdo has corrected these statements. The IMDG under Mr. Azure and Mr.

Levaldo’s control continues to express in communications from the corporations identified

                                            29
               CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 30 of 57




       herein that the loans of the IMDG and related entities are legal, enforceable, and not subject

       to Minnesota law.

              72.     The overall impact of these illegal Green Trust Cash loans on Minnesota is

       significant. One debt collector that contracted with the IMDG and Green Trust Cash

       reported 327 Green Trust Cash loans taken out by Minnesota consumers and were in

       default from 2018 to 2022. Minnesota consumers who had accounts referred to the

       collector and were falsely told that these Green Trust Cash loans were legal and enforceable

       paid over $225,000 to the collector on those loans.

              73.     According to statements made to the BBB, Defendants have ceased offering

       new loans under the name Green Trust Cash, but existing Green Trust Cash loans remain

       outstanding.

III.          INJUNCTIVE RELIEF IS NECESSARY TO STOP ONGOING VIOLATIONS OF
              MINNESOTA LAW THAT HARM MINNESOTA.

              74.     In addition to Bright Lending, Target Cash Now, and Green Trust Cash, the

       IMDG and FBIC have used various other lender entities and business names to conduct

       illegal online lending, including Island Finance, LLC dba White Hills Cash; Clear Water

       Lending, LLC dba Cash Fairy; West River Finance LLC dba West River Cash; Blue Threat

       Lending, LLC; North Star Finance, LLC dba Northcash; Northern Plains Funding, LLC

       dba Northern Plains Funding; and Riverbend Finance, LLC dba Riverbend Cash. These

       entities are also identified by the Washington DFI as online lenders that “may be operating

       as an unlicensed online tribal payday lender.”



                                                    30
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 31 of 57




       75.    The Minnesota consumers that Defendants made illegal loans to were

harmed, including by being subjected to payment demands and debt collection for

exorbitant interest and being falsely compelled to repay loan balances that were, in truth,

void and uncollectible under Minnesota law. Defendants have also made false and

misleading statements to Minnesota consumers, including:

              a. that Defendants had a legal right to collect payment on illegal and void
                 loans, that the loans were enforceable, and that borrowers would be in
                 default and subject to collection if they failed to pay; and

              b. that their loans were “solely within the Tribe’s jurisdiction, not any other
                 state,” that “Minnesota law does not apply to Green Trust Cash, LLC,”
                 and other like statements.

       76.    Defendants’ conduct and operations of the IMDG and its LLCS (Bright

Lending, Target Cash Now, and Green Trust Cash) undermine Minnesota’s sovereign

interests in upholding its laws, preventing wrongful and harmful business conduct,

protecting the economic health of state residents, ensuring a sound and fair marketplace for

financially distressed consumers with diminished bargaining power, and preventing unfair

competition against businesses that comply with Minnesota law.

       77.    Defendants’ conduct also has required the Attorney General’s Office and the

Department of Commerce to expend substantial resources responding to reports from

consumers subjected to illegal loans. Both agencies are charged with the responsibility to

assist Minnesota consumers and investigate potential legal violations and have needed to

address and mediate complaints from consumers that took out illegal loans from Bright

Lending, Target Cash Now, and Green Trust Cash.


                                             31
         CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 32 of 57




       78.    Also, loans issued by Defendants have and will continue to be addressed and

remediated by State-funded grants to refinance and reconcile such debts with no-fee, no-

interest loans. As described above, the 2018 Minnesota Legislature appropriated $100,000

to “assist individuals in reaching financial stability and resolving payday loans,” including

those issued by Defendants that are the subject of this action. In 2023, the Minnesota

Legislature again appropriated $150,000 in annual funds to continue to “assist individuals”

that have taken out usurious loans, including those issued by Defendants that are the subject

of this action. These funds were granted to and administered by a nonprofit called Exodus

Lending. See 2018 Minn. Laws. ch. 94, art. I, § 7; 2023 Minn. Laws ch. 57, art. I, § 2.

       79.    The Legislature also appropriated one-time funds to Exodus Lending to

“assist in the development of a character-based small dollar loan program” that would make

loans to those facing financial instability in lieu of high-interest loans like those offered by

Defendants. See 2023 Minn. Laws ch. 57, art. I, § 2.

       80.    Attempts to evade usury laws to exploit consumers are not new. Predatory

lenders have long attempted to employ various schemes and legal artifices to evade

Minnesota’s usury laws.

       81.    One common avoidance scheme involves short-term lenders entering

agreements with federally recognized Indian tribes whereby the tribe’s status is used to

claim that sovereign immunity prevents enforcement of state consumer-protection laws.

Those who facilitate these schemes make statements in their marketing and




                                              32
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 33 of 57




communications to consumers intending to make consumers believe that their state’s laws

do not apply.

       82.      Defendants’ statements that their loans are legal and that Minnesota laws do

not apply are false. The U.S. Supreme Court has repeatedly recognized that tribal sovereign

immunity does not prevent the substantive application of laws where tribal-related entities

engage in off-reservation business activity that would otherwise be subject to state

regulation.

       83.      Nor can a person evade compliance with Minnesota law by including a fine-

print provision in a consumer contract that state laws do not apply. Contractual devices in

form contracts signed by consumers do not validate otherwise void loans made in violation

of civil or criminal laws.

       84.      For this reason, numerous circuit courts have recognized that short-term

loans made by online and tribal-affiliated lenders are subject to state laws when the lender

steps beyond its tribal boundaries and makes loans to consumers in that state.

       85.      Thus, the substantive laws of Minnesota apply to tribal entities that do

business in the State even if tribal entities are subject to sovereign immunity from suit in

federal and state courts. But it is well-established—most notably in a 1908 U.S. Supreme

Court decision in a case brought against the Minnesota Attorney General, Ex Parte Young,

209 U.S. 123 (1908)—that officials acting in control of a sovereign entity may be subject

to civil suits for injunctive relief to prevent further or ongoing violations. The U.S. Supreme

Court has in fact specifically held that, though money damages are not available, states


                                              33
         CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 34 of 57




may seek Ex Parte Young relief against tribal officials who transact unlawful business

outside of tribal lands.

       86.    Accordingly, the Attorney General seeks injunctive relief to stop further

illegal lending and false and misleading conduct by Defendants in Minnesota.

                                        COUNT I
          Unfair, Deceptive, and/or Abusive Acts or Practices in Violation of
                   the Federal Consumer Financial Protection Act
                              12 U.S.C. §§ 5531 and 5536
       87.    The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.

       88.    In enacting the Consumer Financial Protection Act (CFPA), Congress made

it illegal for any “covered person” to engage in “any unfair, deceptive or abusive act or

practice.” 12 U.S.C. §§ 5531, 5536.

       89.    Defendants are “covered persons” because they are “persons”—which

includes both an “individual” or a “company, corporation, … or other entity”—that are

“engaged in offering or providing a consumer financial product or service.” 12 U.S.C.

§ 5481. Defendants, in their official capacity for the IMDG and the corporations identified

herein, market and extend loans to Minnesota consumers.

       90.    Deceptiveness. A representation, omission, or practice has been deemed

deceptive when it misleads or is likely to mislead the consumer; the consumer’s

interpretation of the representation, omission, act, or practices is reasonable under the

circumstances; and the misleading representation, omission, act or practice is material.

       91.    Defendants engage in deceptive acts because:

                                            34
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 35 of 57




             a. Defendants represent that consumers have a legal obligation to repay loan
                amounts that in fact did not exist because the underlying loan contracts
                violate Minnesota law and thus are void ab initio, market their loans as
                legal credit products when they are not, falsely tell consumers that
                Minnesota law does not apply and outlaw their loans, send
                correspondence to Minnesota consumers demanding payment and claim
                that repayment demands are enforceable when they are not, originate
                ACH debit entries from consumer bank accounts on void loans, demand
                repayment on defaulted loans that are void, and fail to disclose to
                consumers that they had no legal obligation to pay the loan amounts
                because they were void under state law.

             b. Consumers’ interpretation of Defendants’ misrepresentations—i.e., the
                false notion that Defendants’ loans are valid and enforceable and that
                Minnesota law does not apply and outlaw the contracts—is reasonable
                because, among other circumstances related to the transactions, the
                interpretation is what is literally and explicitly stated by Defendants.
                Further, consumers are unlikely to know for certain that Minnesota law
                and U.S. Supreme Court precedent render Defendants’ loans void or limit
                consumers’ obligation to repay them, and thus consumers are unlikely to
                avoid paying illegal amounts to which Defendants and their business
                entities are not entitled.

             c. The subject of the misleading statements—whether a loan is legal and a
                consumer must repay the debt—is material.

      92.    Unfairness. An unfair act or practice under the CFPA is one that causes or

is likely to cause substantial injury to consumers which is not reasonably avoidable by

consumers and the substantial injury is not outweighed by benefits to consumers or to

competition. 12 U.S.C. § 5531(c).

      93.    Defendants’ acts are unfair because, among other circumstances and facts

alleged above, consumers are likely to be injured by the repayment of usurious interest and

payments made on void loans, be forced to make choices between repaying Defendants’

debts or competing daily necessities, and experience distress at the incursion of excessive

interest and repayment demands. This harm is not reasonably avoidable because consumers
                                            35
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 36 of 57




are unlikely to know for certain that Minnesota law and U.S. Supreme Court precedent

render Defendants’ loans void or limit consumers’ obligation to repay them; consumers are

thus unlikely to avoid paying illegal amounts to which Defendants and their business

entities are not entitled. Nor is the substantially injury outweighed by benefits to consumers

or competition—indeed, there is no benefit to usurious and predatory loans that harm

financially distressed consumers and violate basic consumer-protection laws.

       94.    Abusiveness. An abusive act or practice is one that either (1) materially

interferes with the ability of a consumer to understand a term or condition of a consumer

financial product or service or (2) takes unreasonable advantage of a consumer’s lack of

understanding of the material risks, costs, or conditions of the product or service; a

consumer’s inability to protect their interests in selecting or using a consumer financial

product or service; or a consumer’s reasonable reliance on a covered person to act in the

interests of the consumer. 12 U.S.C. § 5531(d).

       95.    Defendants’ actions are abusive because false statements about the validity

of the loan and non-application of Minnesota law cause consumers to believe they must

repay the loans and prevent them from understanding a key term or condition of the loan—

i.e., their illegality and unenforceability under Minnesota law. Defendants’ actions also

take unreasonable advantage of consumers’ lack of understanding of material risks.

Consumers are unlikely to know that Minnesota law and U.S. Supreme Court precedent

render Defendants’ loans void or limit consumers’ obligation to repay them, and thus

consumers are unlikely to avoid paying illegal amounts to which Defendants and their


                                             36
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 37 of 57




business entities are not entitled. Defendants take advantage of consumers’ likely

misunderstanding or confusion regarding the legality of the loans, inability to protect their

interests in selecting such loans, and reasonable reliance on Defendants’ statements.

       96.      Messrs. Azure and LeValdo manage and control the IMDG, Bright Lending,

Target Cash Now, and Green Trust Lending. They decided, adopted, or ratified the policies

of the IMDG, Bright Lending, Target Cash Now, and Green Trust Lending related to the

unlawful lending operations and deception outlined herein. They also conspired and agreed

with the entities described herein and other persons to make the illegal loans and

misrepresentations to Minnesota consumers and extract illegal payments from individuals

in Minnesota.

       97.      Defendants’ violations are ongoing. Defendants continue to make new loans

to Minnesota consumers, demand Minnesota consumers repay illegal and void loans, and

engage in debt collection of illegal and void loans from Minnesota consumers. Minnesota

and its residents have been and continue to be harmed by Defendants’ unfair, deceptive,

and/or abusive acts or practices.

       98.      Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.




                                             37
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 38 of 57




       99.    Before initiating this action, the Attorney General sent a complete copy of

this Complaint and written notice describing this action to the Consumer Financial

Protection Bureau in accordance with 12 U.S.C. § 5552(b)(1).

                                    COUNT II
                          RICO—Collection of Unlawful Debts
                               18 U.S.C. § 1962(c)

       100.   The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.

       101.   Congress enacted the Racketeer Influenced Corrupt Organizations Act

(RICO) to combat racketeering and other illegal businesses transacted across states.

Section 1962 of RICO provides liability based on either a “pattern of racketeering activity”

or “collection of an unlawful debt”:

       It shall be unlawful for any person employed by or associated with any
       enterprise engaged in, or the activities of which affect, interstate or foreign
       commerce, to conduct or participate, directly or indirectly, in the conduct of
       such enterprise’s affairs through a pattern of racketeering activity or
       collection of unlawful debt.

       102.   In separately targeting collection of “unlawful debts,” Congress intended to

address “the evils” of predatory lending and “loan sharking.” Durante Bros. & Sons v.

Flushing Nat. Bank, 755 F.2d 239, 250 (2d Cir. 1985). Congress defined an “unlawful

debt” to be a debt incurred in connection with “the business of lending money or a thing of

value at a rate usurious under State or Federal law, where the usurious rate is at least twice

the enforceable rate.” 18 U.S.C. § 1961(6).

       103.   Defendants are “persons” as defined by section 1961(3). Both as principals

and acting in concert with each other and other persons and entities, the enterprise they
                                              38
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 39 of 57




manage and control has repeatedly and continues to charge, demand payment, and collect

on loans in Minnesota far more than twice the usury rate cap under Minnesota law.

       104.   Defendants are “employed by or associated with” an “enterprise” that is

engaged in interstate or foreign commerce” because they are managers and directors of the

IMDG, Bright Lending, Target Cash Now, and Green Trust Cash. They operate these

businesses and work with other individuals and entities—including nontribal debt

collectors—towards a common and shared purpose, with continuity of structure and

personnel, and as an ascertainable structure distinct from the predicate illegal activity that

is the subject of this lawsuit. See 18 U.S.C. § 1961(3) (defining “enterprise”); Handeen v.

Lemaire, 112 F.3d 1339, 1351 (8th Cir. 1997) (applying elements of section 1962(c)).

       105.   The enterprise is engaged in and its activities affect interstate commerce. The

IMDG, Bright lending, Target Cash Now, and Green Trust Cash, along with the Defendants

that control those businesses, other individuals, and other entities (including nontribal debt

collectors), operate out of the FBIC and transact their business across multiple states

(including Minnesota).

       106.   Section 1964(a) of RICO provides that federal district courts “shall have

jurisdiction to prevent and restrain violations of section 1962 of this chapter by issuing

appropriate orders,” including by “imposing reasonable restrictions on the future activities

… of any person, including, but not limited to, prohibiting any person from engaging in

the same type of endeavor as the enterprise engaged in, the activities of which affect

interstate or foreign commerce; or ordering dissolution or reorganization of any enterprise,


                                             39
              CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 40 of 57




making due provision for the rights of innocent persons.” Section 1964(c) of RICO further

provides that any “person injured in his business or property by reason of a violation of

section 1962 of this chapter may sue therefor in any appropriate United States district

court.”

          107.    Minnesota is an entity included in the definition of “person” under section

1961(3) that continues to be injured by Defendants’ violating conduct. Such ongoing injury

includes, additionally and alternatively:

          -    direct harm to Minnesota’s sovereign interests in compliance with state law and
               a sound business marketplace, protection against unfair competition and harm to
               businesses that comply with the law, and harm to the ongoing economic health
               of state residents take out predatory loans;

          -    the expenditure of governmental resources by the Attorney General’s Office and
               the Department of Commerce to investigate, respond to, and mediate complaints
               from consumers subject to payment demands and other collection on illegal
               debts,

          -    the expenditure of public funds necessary to purchase and remediate illegal loans
               made by Defendants to Minnesota consumers, and

          -    the undermining of the Legislature’s funding of a “character-based small dollar
               loan program” for the benefit of Minnesota consumers and in lieu of high-
               interest loans like those offered by Defendants.

          108.    Minnesota seeks permanent injunctive relief pursuant to section 1964 of

RICO to prevent and restrain further direct harm to the above interests.

                                          COUNT III
                                        General Usury
                                       Minn. Stat. ch. 334

          109.    The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.


                                                 40
         CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 41 of 57




       110.    Section 334.01 sets the general usury rate cap in Minnesota as 8% per annum

on written loan contracts under $100,000. The rate cap under section 334.01 applies unless

another rate applies for businesses supervised and regulated under Minnesota or federal

law. See, e.g., Minn. Stat. § 334.01, subd. 3 (contracts governed by ERISA), § 334.011

(business and agricultural loans), §§ 334.02 & 334.03 (exempting financial institutions and

regulated lenders subject to section 47.59, section 48.196, sections 56.01-56.19, and federal

banking supervision); § 47.59 (setting rates for certain state-regulated or -supervised

financial institutions).

       111.    Defendants have violated and continue to violate chapter 334 by charging

and collecting on loans subject to the chapter with egregious annual interest rates ranging

from 474% to 795%.

       112.    Defendants are subject to the 8% usury rate under chapter 334 because they

are not licensed, registered, or otherwise supervised and regulated by federal or Minnesota

agencies.

       113.    Under section 334.02 and 334.05, Defendants’ loans were and are void ab

initio. Minnesota consumers who were extended such loans have no obligation to repay the

loan or be subject to collection.

       114.    Messrs. Azure and LeValdo are liable for these violations in their official

capacity in the management and control of the IMDG, Bright Lending, Target Cash Now,

and Green Trust Cash. They decided, adopted, and/or ratified the policies of the IMDG,

Bright Lending, Target Cash Now, and Green Trust Lending related to the unlawful lending


                                             41
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 42 of 57




operations. They also conspired and agreed with the entities described herein to make the

illegal loans and misrepresentations to Minnesota consumers and to extract illegal

payments from individuals in Minnesota.

       115.   These violations are ongoing: Defendants continue to make usurious new

loans to Minnesota consumers, demand repayment from Minnesota consumers loans

subject to usurious interest rates, and engage in debt collection from Minnesota consumers

on illegal loans. Minnesota and its residents have been and continue to be harmed by

Defendants’ violations of chapter 334.

       116.   The Attorney General is entitled to bring civil actions to enforce chapter 334

pursuant to Minn. Stat. § 8.31 and common law parens patriae authority.

       117.   Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.

                                      COUNT IV
                              Usury for Lending Businesses
                               Minn. Stat. §§ 56.01-56.19

       118.   The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.

       119.   Chapter 56 of the Minnesota Statutes provides that “no person shall engage

in the business of making loans” with an initial balance of less than $100,000 and “charge,

contract for, or receive” interest that is more than what is allowed if the person was not a


                                             42
           CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 43 of 57




“licensee under this chapter.” Minn. Stat. § 56.01. This prohibition applies “to any person

who, by any device, or pretense, shall charge, contract for, or receive greater interest …

than is authorized by [chapter 56].” Minn. Stat. § 56.18.

       120.    In other words, lending businesses that wish to make loans above the 8%

general usury cap under chapter 334 (and are not regulated by Minnesota or federal

authorities as a bank, savings association, trust company, licensed pawnbroker, or credit

union) both must obtain a lending license from the Department of Commerce. Section

56.131 then allows those regulated lenders to issue loans at higher but still limited interest

rates set forth under Minn. Stat. § 47.59 (which is either an overall rate of 27.75% or a

graduated rate of 33% for principal under $1,350 and 19% for amounts above $1,350). If

the lender is not licensed, loans they issue above the general usury cap are illegal and void

under section 56.19 (in addition to chapter 334).

       121.    The Attorney General is Minnesota’s chief law enforcement officer and

authorized to bring civil actions to enforce chapter 56’s usury prohibition for lending

businesses under section 8.31 and his parens patriae authority. See State by Swanson v.

Minnesota Sch. of Bus., Inc., 899 N.W.2d 467 (Minn. 2017) (holding that Attorney General

may enforce and pursue injunctive relief for violations of chapter 56).7




       7
         The Minnesota Department of Commerce has authority to bring administrative
actions as licensor for regulated lenders. See Minn. Stat. §§ 56.21, 45.027. But the Attorney
General has independent and concurrent authority to enforce chapter 56 as the State’s chief
law officer. See State ex rel. Hatch v. Am. Fam. Mut. Ins. Co., 609 N.W.2d 1, 4 (Minn. Ct.
App. 2000).
                                             43
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 44 of 57




       122.   Defendants have violated and continue to violate chapter 56 by engaging in

the business of making loans while charging and collecting on loans with a principal

balance under $100,000, at interest rates well above the general usury cap and without a

lending license.

       123.   Defendants are not licensed under chapter 56, nor are they banks, savings

associations, trust companies, licensed pawnbrokers, credit unions, or other entities doing

business under and as permitted by Minnesota or federal law. Even if Defendants did hold

a lending license, they would still violate section 56.131’s usury limit for lending

businesses because the interest rates on their loans are exponentially higher than those

permitted under section 47.59.

       124.   As a result of these violations, all loans issued under Bright Lending, Target

Cash Now, Green Trust Cash, and any other entity controlled or managed by Defendants

and the IMDG to consumers in Minnesota are void. Pursuant to section 56.19, borrowers

on such loans are under no obligation to pay any amounts demanded related to those loans.

       125.   Defendants are liable for these violations in their official capacity in

management and control of the IMDG, Bright Lending, Target Cash Now, and Green Trust

Lending. They decided, adopted, and/or ratified the policies of the IMDG, Bright Lending,

Target Cash Now, and Green Trust Lending related to the unlawful lending operations

outlined herein. They also conspired and agreed with the entities described herein to make

the illegal loans and misrepresentations to Minnesota consumers and extract illegal

payments from individuals in Minnesota.


                                            44
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 45 of 57




       126.   These violations are ongoing: Defendants continue to make new loans under

$100,000 to Minnesota consumers at egregious and blatantly unlawful interest rates,

demand repayment from Minnesota consumers on the loans, and engage in debt collection

from Minnesota consumers on the loans. Minnesota and its residents have been and

continue to be harmed by Defendants’ violations of chapter 56.

       127.   Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.

                                     COUNT V
                   Violation of Consumer Short-Term Loan Statute
                                 Minn. Stat. §§ 47.601

       128.   The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.

       129.   Section 47.601 guards against the worst practices in high-risk lending by

setting protections from individuals and entities in the business of making “consumer short-

term loans.” The law prohibits contracts that purport to displace or render inapplicable

Minnesota law, requires that lenders provide complete copies of lending contracts and

disclose necessary information about the loan, requires compliance with Minnesota debt-

collection laws, and requires special reporting to the Department of Commerce.

       130.   Section 47.601, subdivision 6, renders void any consumer short-term loan

issued by a consumer short-term lender who is not properly licensed, includes contract


                                             45
          CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 46 of 57




terms prohibited under the statute, or charges interest or fees in violation of limits set forth

under Minn. Stat. § 47.59, subd. 6 (capping charges for loans made by regulated financial

institutions), and Minn. Stat. § 47.60 (setting charges for consumer small-loan lenders).

       131.   The Attorney General is authorized to bring civil actions to enforce section

47.601, section 8.31, and parens patriae authority. See, e.g., Minn. Stat. § 47.601, subd. 7.

       132.   Loans made by Defendants have initial principal balances between $300 and

$1,250 and are made to borrowers while in Minnesota (including but not limited to the

borrowers identified above) for personal, family, or household purposes. The repayment

schedules for these loans require high weekly or biweekly payments from the borrower

equal to at least 25% of the initial principal balance within 60 days of the loan’s origination.

Thus, many if not most of the loans made by Defendants and the corporations they manage

and control have an original principal balance of $1,000 or less and are subject to section

47.601.

       133.   Defendants are each “an individual or entity engaged in the business of

making or arranging consumer short-term loans” and are not “a state of federally chartered

bank, savings bank, or credit union” and are subject to section 47.601.

       134.   Defendants’ loans are also not transactions made under chapter 325J or loans

where, in the event of default on the loan, the sole recourse for recovery of the amount

owed, other than a lawsuit for damages for the debt, is to proceed against physical goods

pledged by the borrower as collateral for the loan.




                                              46
CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 47 of 57
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 48 of 57




herein to make the illegal loans and misrepresentations to Minnesota consumers and extract

illegal payments from individuals in Minnesota.

       138.   These violations are ongoing: Defendants continue to make new consumer

short-term loans to consumers in Minnesota and demand repayment and engage in debt

collection on loans subject to these violations. Minnesota and its residents have been and

continue to be harmed by Defendants’ violations of section 47.601.

       139.   Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.

                                      COUNT VI
                           Prevention of Consumer Fraud Act
                               Minn. Stat. § 325F.69-.70

       140.   The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.

       141.   Minn. Stat. § 325F.69 (2022) provides that the “act, use, or employment” by

“any person” of “any fraud, false pretense, false promise, misrepresentation, misleading

statement or deceptive practice” that is made “with the intent that others rely thereon in

connection with the sale of any merchandise” is “enjoinable as provided in section 325F.70.

The representation is actionable “whether or not any person has in fact been misled,

deceived, or damaged thereby.”




                                             48
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 49 of 57




       142.   As of 2023, section 325F.59 of the CFA also prohibits “unfair or

unconscionable practice[s].” 2023 Minn. Laws. ch. 57, art. IV, § 16.

       143.   The term “merchandise” under section 325F.69 includes “services” and

“loans.” Minn. Stat. § 325F.68, subd. 2.

       144.   Section 325F.70 provides that “the attorney general … may institute a civil

action in the name of the state in the district court for an injunction prohibiting any

violation” of the CFA. It further provides that the court, “upon proper proof that such

defendant has engaged in a practice made enjoinable” by the CFA “may enjoin the future

commission of such practice.” The statutes clarifies that it “shall be no defense to such an

action that the state may have adequate remedies at law.”

       145.   Defendants violated and are violating the CFA through their control and

operation of business entities identified herein that represent (expressly or by implication)

that consumers have a legal obligation to repay loan amounts that in fact did not exist

because the loans are void ab initio under Minnesota law. Defendants, through their control

and operation of the business entities identified herein, have marketed their loans as legal

credit products, sent correspondence to Minnesota consumers demanding payment,

originated ACH debit entries from consumer bank accounts, conducted debt collection on

Minnesota consumers, and demand repayment on defaulted loans.

       146.   Defendants, through their control and operation of the business entities

identified here, also have failed to disclose that consumers had no legal obligation to pay

the loan amounts because they were void under state law. Consumers were and are unlikely


                                             49
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 50 of 57




to know that Minnesota laws and U.S. Supreme Court precedent render Defendants’ loans

void or limited consumers’ obligation to repay.

       147.   The representations were misleading and made with the intent that others rely

thereon in connection with the sale of loans to Minnesota consumers. Representations

concerning the legal obligation of the consumer to repay or not repay are material terms or

conditions meant to induce the borrower to believe the loans are legal, to induce consumers

to make payments they are not obligated to make, and to prevent consumers from asserting

rights under Minnesota law. These practices are unfair and misleading.

       148.   The Attorney General is authorized to bring civil actions to enforce the CFA

under section 325F.70, section 8.31, and parens patriae authority.

      149.    Defendants are liable for these violations in their official capacity in

management and control of the IMDG, Bright Lending, Target Cash Now, and Green Trust

Lending. They decided, adopted, or ratified the policies of the IMDG, Bright Lending,

Target Cash Now, and Green Trust Lending related to the unlawful lending operations and

deception outlined herein. They also conspired and agreed with the entities described

herein to make the illegal loans and misrepresentations to Minnesota consumers and extract

illegal payments from individuals in Minnesota.

      150.    These violations are ongoing: Defendants continue to market and sell new

consumer loans to consumers in Minnesota and demand repayment and engage in debt

collection on loans subject to these violations. Minnesota and its residents have been and

continue to be harmed by Defendants’ violations of the CFA.


                                            50
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 51 of 57




       151.   Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.

                                    COUNT VII
                        Uniform Deceptive Trade Practices Act
                              Minn. Stat. §§ 325D.44-.45

       152.   The Attorney General re-alleges paragraphs 1 through 86 of this Complaint.

       153.   Minn. Stat. § 325D.44-.45 (2022) (the Uniform Deceptive Trade Practices

Act or “UDTPA”) provides that a “person …. engages in a deceptive trade practice” when

“in the course of business, vocation, or occupation,” they: “cause[] likelihood of confusion

or of misunderstanding as to the … approval[] or certification of goods or services,”

“represent[] that goods or services have … characteristics … that they do not have,” or

“engage[] in any other conduct which similarly creates a likelihood of confusion or of

misunderstanding.” Minn. Stat. § 325D.44, subd. 1(2), (5), (13). Deceptive practices under

section 325D.44 may be enjoined and “proof of monetary damage, loss of profits, or intent

to deceive is not required.”

       154.   As of 2023. The UDTPA also prohibits “unfair or unconscionable acts or

practices.” 2023 Minn. Laws. ch. 57, art. IV, § 6.

       155.   Defendants violated and are violating the UDTPA through their control and

operation of business entities identified herein that represent (expressly or by implication)

that consumers have a legal obligation to repay loan amounts that in fact did not exist


                                             51
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 52 of 57




because the loans are void ab initio under Minnesota law. Defendants, through their control

and operation of the business entities identified herein, have marketed their loans as legal

credit products, sent correspondence to Minnesota consumers demanding payment,

originated ACH debit entries from consumer bank accounts, conducted debt collection on

Minnesota consumers, and demand repayment on defaulted loans. These practices are

misleading and unfair.

       156.   Defendants also failed to disclose that consumers had no legal obligation to

pay the loan amounts because they were void under state law. Consumers were and are

unlikely to know that U.S. Supreme Court precedent and Minnesota laws render

Defendants’ loans void or limited consumers’ obligation to repay.

       157.   Representations concerning the legal obligation of the consumer to repay or

not repay are material terms or conditions meant to induce the borrower to believe the loans

are legal, to induce consumers to make payments they are not obligated to make, and to

prevent consumers from asserting rights under Minnesota law.

       158.   The Attorney General is authorized to bring civil actions to enforce the

UDTPA under section 325D.45, section 8.31, and parens patriae authority.

       159.   Defendants are liable for these violations in their official capacity in

management and control of the IMDG, Bright Lending, Target Cash Now, and Green Trust

Lending. They decided, adopted, or ratified the policies of the IMDG, Bright Lending,

Target Cash Now, and Green Trust Lending related to the unlawful lending operations and

deception outlined herein. They also conspired and agreed with the entities described


                                            52
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 53 of 57




herein to make the illegal loans and misrepresentations to Minnesota consumers and extract

illegal payments from individuals in Minnesota.

       160.   These violations are ongoing: Defendants continue to market and sell new

consumer loans to consumers in Minnesota and demand repayment and engage in debt

collection on loans subject to these violations. Minnesota and its residents have been and

continue to be harmed by Defendants’ violations of the UDTPA.

       161.   Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.

                                      COUNT VIII
                             False Statement in Advertising
                                 Minn. Stat. §§ 325F.67

       162.   The Attorney General incorporates by reference paragraphs 1 through 86 of

this Complaint.

       163.   Minn. Stat. § 325F.67 (the False Statement in Advertising Act or “FSAA”)

states that “any person [or] corporation” who has “intent to sell … [a] service[] or anything

offered by such person … to the public … for sale … or to induce the public in any manner

to enter into any obligation relating thereto” and “makes, publishes, disseminates,

circulates, or places before the public .. in this state” and “in a … publication, … letter, …

or in any other way, an advertisement of any sort regarding [the] service … for use,




                                             53
          CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 54 of 57




consumption, purchase, or sale” is liable if the “advertisement contains any material

assertion, representation, or statement of fact which is untrue, deceptive, or misleading.”

         164.   Section 325F.67 further provides that a violation is a misdemeanor and “any

such act is declared to be a public nuisance and may be enjoined as such.” It states that a

“duty of strict observance and enforcement of this law and prosecution for any violation

thereof is hereby expressly imposed upon the attorney general.”

         165.   Defendants’ loans and credit products are “merchandise, … [a] service, or

anything offered … directly or indirectly, to the public” within the meaning of the statute.

Defendants are “persons” or “corporations” within the meaning of the statute.

         166.   Defendants violated and are violating the FSAA through their control and

operation of business entities identified herein that falsely represent (expressly or by

implication) and market their loans as legal credit products and fail to disclose that

consumers have no legal obligation to pay the loan amounts because they are void under

state law. Consumers were and are unlikely to know that U.S. Supreme Court precedent

and Minnesota laws render Defendants’ loans void or limited consumers’ obligation to

repay.

         167.   The Minnesota Attorney General is authorized to bring civil actions to

enforce the FSAA under the statute, section 8.31, and his parens patriae authority.

         168.   Defendants are liable for these violations in their official capacity in

management and control of the IMDG, Bright Lending, Target Cash Now, and Green Trust

Lending. They decided, adopted, or ratified the policies of the IMDG, Bright Lending,


                                             54
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 55 of 57




Target Cash Now, and Green Trust Lending related to the unlawful lending operations and

deception outlined herein. They also conspired and agreed with the entities described

herein to make the illegal loans and misrepresentations to Minnesota consumers and extract

illegal payments from individuals in Minnesota.

       169.   These violations are ongoing: Defendants continue to market and sell new

consumer loans to consumers in Minnesota. Minnesota and its residents have been and

continue to be harmed by Defendants’ violations of the FSAA.

       170.   Because the business entities controlled by Defendants and identified herein

are owned by federal recognized Indian tribes and subject to sovereign immunity, the

Attorney General brings this action for declaratory and injunctive relief only—in order to

secure effective prospective relief to stop continuing and future violations of the law.

                                PRAYER FOR RELIEF

       The Attorney General respectfully requests that this Court enter an order granting

the following relief:

       1.     Declaring, pursuant to Fed. R. Civ. P. 57, that Defendants’ marketing,

offering, issuing, servicing, collection, and providing of loans with usurious interest rates

in Minnesota, through their operation of the IMDG, Bright Lending, Target Cash Now, and

Green Trust Cash is in violation of the above federal and state laws;

       2.     Enjoining, pursuant to Fed. R. Civ. P. 65 and/or the above-identified federal

and Minnesota statutes, Defendants, any other officers, agents, servants, employees, and

attorneys of Defendants’ and the corporations they control and manage; and any other


                                             55
        CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 56 of 57




persons in active concert or participation with them and with notice of an injunctive order

from marketing, offering, issuing, servicing, collecting on, or otherwise providing usurious

and illegal loans in Minnesota;

       3.     Subject to requirements and conditions under 12 U.S.C. § 5497(d) and 12

C.F.R. Part 1075, ordering declaratory or other relief as is necessary to allow victims of

Defendants’ violations of the CFPA to receive compensation from the victim relief fund,

including an order that civil penalties described under section 5497 are or would be

awarded in this action but for the sovereign immunity afforded Defendants against

monetary damages; and

       4.     Granting such further relief as provided by law or as the Court deems

appropriate and just.

Dated: Oct. 30, 2023                             Respectfully submitted,

                                                 KEITH ELLISON
                                                 Attorney General
                                                 State of Minnesota

                                                 JESSICA WHITNEY
                                                 Deputy Attorney General

                                                 JASON PLEGGENKUHLE
                                                 Assistant Attorney General

                                                  /s/ Adam Welle
                                                 ADAM WELLE
                                                 Assistant Attorney General
                                                 MN Atty. Reg. No. 0389951

                                                 BENNETT HARTZ
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                                            56
CASE 0:23-cv-03321-PJS-DJF Doc. 1 Filed 10/30/23 Page 57 of 57




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                              57
